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                                                                        Honorable Robert S. Lasnik




                                      UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON AT SEATTLE

  ME2 PRODUCTIONS, INC.,                               Civil Action No. 16-cv-1955RSL

                                   Plaintiff,          STIPULATION OF DISMISSAL WITH
                                                       PREJUDICE OF KRISTINA HANKS
               v.                                      (DOE 6)

  KENNETH JONES, an individual;
  KRISTINA HANKS, an individual;
  JAMES ALEXANDER, an individual;
  JOSE ROJAS, an individual; and
  GERALD W. BOERNER, an individual,

                                   Defendants.

            Pursuant to Rule 41(a)(1)(A)(ii) and according to the terms of a Confidential Settlement

Agreement wherein Defendant agreed to (a) cease directly, contributorily or indirectly infringing

ME2’s rights in its valid and enforceable copyrighted work Mechanic: Resurrection, Copyright

Registration No. PA 1 982 831, including without limitation by using the Internet to reproduce,

copy, distribute or to make the motion picture available for distribution to the public, except

pursuant to a lawful written license from ME2; (b) destroy all unauthorized copies or parts thereof

of Mechanic: Resurrection in its possession or subject to Defendant’s control, including without

limitation any downloaded onto any computer hard drive or server or otherwise saved onto any

physical medium or device, without ME2’s authorization; and (c) pay ME2 a monetary sum for




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statutory damages, Plaintiff hereby dismisses its claims against Defendant with prejudice and with

each side bearing its own fees and costs.

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